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                                                                                             January 20, 2023

        Via CM/ECF

        Patricia S. Connor
        Clerk of Court
        U.S. Court of Appeals for the Fourth Circuit
        Lewis F. Powell, Jr. U.S. Courthouse Annex
        1100 East Main Street, Suite 501
        Richmond, Virginia 23219

               Re:     Krakauer v. Dish Network LLC, No. 21-1616

        Dear Ms. Connor:

                 I am writing to inquire as to the status of this appeal. The Appellant, Dish Network LLC,
        filed its opening brief on August 9, 2021. ECF No. 29. On October 7, 2021, Plaintiff-Appellee
        filed a motion to dismiss for lack of jurisdiction. ECF No. 32. Plaintiff also filed, and the Court
        granted, a motion to suspend briefing pending the disposition of the motion to dismiss. ECF Nos.
        33, 35. On November 8, 2021, Dish Network filed its response in opposition to Plaintiff’s motion
        to dismiss, ECF No. 38, and Plaintiff filed a reply on November 29, 2021. ECF No. 41.

                With the motion to dismiss being fully briefed, I am writing to respectfully request a status
        report or update on this matter.

               Thank you, and should you have any questions please contact me.


                                                                           Respectfully,




                                                                           John W. Barrett
        JWB/md

        cc:    Counsel of Record via CM/ECF




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